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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kiesque, Incorporated                           )
                                                )
v.                                              )      Case No. 18-cv-7761
                                                )
THE PARTNERSHIPS and                            )      Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                     )
IDENTIFIED ON SCHEDULE “A”                      )      Magistrate: Hon. Mary M. Rowland
                                                )
                                                )

                                       Voluntary Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Kiesque Incorporated, voluntarily

dismiss any and all claims against defendants without prejudice:

 Doe           Store Name                  ID
 430           dafaninternational          5488483a34719113f9c57b1b
 455           foertengtrade               56a09f409f94d60e04356eee
 456 (627)     hellolovelyshop             57e8daa7b97437131f78baf5

Dated: February 4, 2019
                                                Respectfully submitted,


                                                By:     s/David Gulbransen/
                                                       David Gulbransen
                                                       Attorney of Record

                                                       David Gulbransen (#6296646)
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